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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                             MDL NO 2924
   PRODUCTS LIABILITY                                                      20-MD-2924
   LITIGATION
                                                         JUDGE ROBIN L ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE REINHART
   __________________________________/


    Plumbers & Pipefitters Local
    Union 630 Welfare Fund,
    Plaintiff

           v.

    GlaxoSmithKline LLC
    GlaxoSmithKline (America) Inc.
    GlaxoSmithKline plc
    Boehringer Ingelheim Pharmaceuticals, Inc.
    Boehringer Ingelheim Corporation                   Notice of Appeal
    Boehringer Ingelheim USA Corporation
    Boehringer Ingelheim International GmbH
    Boehringer Ingelheim Promeco, S.A. de C.V.
    Boehringer Ingelheim Pharmaceuticals, Inc.
    Pfizer Inc.
    Sanofi-Aventis U.S. LLC
    Sanofi US Services Inc.
    Sanofi S.A.
    Ajanta Pharma USA Inc.
    Ajanta Pharma Ltd.
    Amneal Pharmaceuticals LLC
    Amneal Pharmaceuticals of New York, LLC
    Apotex Corporation
    Apotex Inc.
    Auro Health LLC
    Aurobindo Pharma USA, Inc.
    Aurobindo Pharma, Ltd.
    Contract Pharmacal Corp.
    Dr. Reddy’s Laboratories Inc.
    Dr. Reddy’s Laboratories, Ltd.
    Geri-Care Pharmaceuticals, Corp.
    Geri-Care Pharmaceuticals, Corp.
    Glenmark Pharmaceuticals, Inc., USA
    Glenmark Pharmaceuticals Ltd.



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    Heritage Pharmaceuticals, Inc.
    Lannett Co., Inc.
    Mylan Pharmaceuticals, Inc.
    Mylan Institutional LLC
    Mylan, Inc.
    Mylan Laboratories Ltd.
    Nostrum Laboratories Inc.
    PAI Holdings, LLC
    Par Pharmaceutical Inc.
    Sandoz Inc.
    Strides Pharma, Inc.
    Ranbaxy Inc.
    Sun Pharmaceutical Industries, Inc.
    Sun Pharmaceutical Industries Ltd.
    Actavis Mid Atlantic LLC
    Teva Pharmaceuticals U.S.A., Inc.
    Watson Laboratories, Inc.
    Torrent Pharma Inc.
    Wockhardt USA LLC
    Wockhardt, Ltd.
    Zydus Pharmaceuticals (USA) Inc., Defendants

           Notice is hereby given that Plumbers & Pipefitters Local Union 630 Welfare Fund, plaintiff
   in the above named case, hereby appeals to the United States Court of Appeals for the Eleventh
   Circuit from D.E. 2532, 2512, 2513, and 2516, orders granting Defendants’ motions to dismiss on
   preemption and standing grounds. D.E. 2532 was entered in this action on the 8th day of January,
   2021. The remaining orders were entered on December 31, 2020.
           The above orders dismissed the Consolidated Third-Party Payor Class Complaint [D.E.
   888], giving leave to replead some claims, but dismissing others with prejudice. In view of the
   narrow path permitted for repleading, no Third-Party Payor Plaintiff has elected to replead.
   Plaintiff Plumbers & Pipefitters Local Union 630 Welfare Fund instead elects to appeal. See Van
   Poyck v. Singletary, 11 F.3d 146, 148 (11th Cir. 1994) (“However, the plaintiff need not wait until
   the time for amendment expires; he can waive the right to later amend, treat the dismissal as final,
   and file a notice of appeal before the expiration of the amendment period.”).
    DATED: January 28, 2021.                               Respectfully submitted,
                                                           /s/Ashley Keller
    Mark J. Dearman, FBN 0982407                           Ashley Keller
    Email: mdearman@rgrdlaw.com                            KELLER LENKNER LLC
    ROBBINS GELLER RUDMAN & DOWD LLP                       150 N. Riverside Plaza, Suite 4270
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    Boca Raton, FL 33432                                   Tel: (312) 741-5220
    Tel: (561) 750-3000
                                                           Counsel for Plaintiff–Appellant


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                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 28, 2021, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

   counsel of record or parties registered to receive CM/ECF Electronic Filings.


                                                               /s/Ashley Keller
                                                              Ashley Keller




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